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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )            Case No. 05-314M
11         v.                             )
                                          )
12   MIGUEL ALMEJO PALOMERA,              )            DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offenses charged:

16          1.      Conspiracy to distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1),

17 841(b)(1)(B), and 846; and

18          2.      Distribution of cocaine in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C),

19 and 18 U.S.C. § 2.

20 Date of Detention Hearing: June 28, 2005.

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

23 that no condition or combination of conditions which defendant can meet will reasonably assure

24 the appearance of defendant as required and the safety of other persons and the community.

25          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

26          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that no

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 conditions would reasonably assure the presence of defendant at the time of trial. Defendant has

02 not overcome this presumption.

03          (2)    Defendant is viewed as a risk of nonappearance because he is a citizen of Mexico,

04 has strong family ties to Mexico, and has traveled frequently to Mexico.

05          (3)    Defendant is viewed as a risk of danger due to the nature of the instant offense.

06          IT IS THEREFORE ORDERED:

07          (1)    Defendant shall be detained pending trial and committed to the custody of the

08                 Attorney General for confinement in a correction facility separate, to the extent

09                 practicable, from persons awaiting or serving sentences or being held in custody

10                 pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12                 counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14                 government, the person in charge of the corrections facility in which defendant is

15                 confined shall deliver the defendant to a United States Marshal for the purpose of

16                 an appearance in connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

18                 counsel for the defendant, to the United States Marshal, and to the United States

19                 Pretrial Services Officer.

20
                   DATED this 28th day of June, 2005.
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23
                                                         JAMES P. DONOHUE
24                                                       United States Magistrate Judge
25

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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